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                 EXHIBIT 7
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PATRICIA J. WOLF                                            October 06, 2022
UNITED STATES vs STATE OF GEORGIA                                          1




 · · · · · IN THE UNITED STATES DISTRICT COURT

 · · · · ·FOR THE NORTHERN DISTRICT OF GEORGIA

 · · · · · · · · · ·ATLANTA DIVISION



 UNITED STATES OF AMERICA,

 · · · ·Plaintiff,

 vs.· · · · · · · · · · · · CIVIL ACTION NO.
 · · · · · · · · · · · · · ·1:16-CV-03088-ELR
 STATE OF GEORGIA,

 · · · ·Defendant.




 · · ·VIDEOTAPED DEPOSITION OF PATRICIA JOANN WOLF

 · · · · · ·Taken on behalf of the Plaintiff,

 · · · pursuant to Notice and agreement of counsel,

 in accordance with the Federal Rules of Civil Procedure

 · · · · · before Maxyne Bursky, RPR, CRR, CRC

 · · · · · · · · Certified Court Reporter

 · · ·At 110 N. ABC Street, Milledgeville, Georgia

 · · · ·On October 6, 2022, between the hours of

 · · · · · · · · 9:21 a.m. and 6:07 p.m.




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·1· ·says Referral, do you see that section?
·2· · · ·A· · (Indicating affirmatively.)
·3· · · ·Q· · It says here at the beginning of the second
·4· ·paragraph, "An IEP team may consider in-class services
·5· ·via GNETS program for a child with an emotional and
·6· ·behavioral disorder based on documentation of the
·7· ·severity of the duration, frequency and intensity of
·8· ·one or more of the characteristics of the disability
·9· ·category of emotional and behavioral disorders (EBD)."
10· · · · · · Do you see that?
11· · · ·A· · I do.
12· · · ·Q· · What are in-class services?
13· · · ·A· · That would be a self-contained class that is
14· ·particularly dedicated to GNETS.
15· · · ·Q· · Are there GNETS services that are not in-class
16· ·services?
17· · · ·A· · Yes, we provide consultation.· We'll go in and
18· ·assist with behavior intervention planning,
19· ·observation, things like that.
20· · · ·Q· · How often in a given school year would you say
21· ·you provide consultative services?
22· · · ·A· · Approximately five to ten times a year.
23· · · ·Q· · Does GNETS of Oconee provide home-based
24· ·services?
25· · · ·A· · Provide what?


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·1· ·might look like recommending counseling by outside
·2· ·providers or things like that, suggestions, so forth.
·3· · · ·Q· · Does GNETS of Oconee ever have any of its
·4· ·therapeutic staff push into educational environments to
·5· ·support students directly?
·6· · · ·A· · Not our GNETS program.· We don't have the
·7· ·staff for that.
·8· · · · · · MS. GARDNER:· I would like to ask the court
·9· · · ·reporter to mark this document as Plaintiff's
10· · · ·Exhibit 485.
11· · · · · · (Plaintiff's Exhibit 485 was marked for
12· · · ·identification.)
13· · · · · · (Witness reviewing document.)
14· ·BY MS. GARDNER:
15· · · ·Q· · Ms. Wolf, you have been handed what's been
16· ·marked as Plaintiff's Exhibit 485.· This is the Georgia
17· ·Network for Educational and Therapeutic Support Request
18· ·for GNETS Consultation.· Are you familiar with this
19· ·document?
20· · · ·A· · Yes.
21· · · ·Q· · What is this document?
22· · · ·A· · This document is where systems can request
23· ·consultative services from GNETS on challenging
24· ·students.
25· · · ·Q· · Is this the form that an LEA would use?· For


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